                             LINITED STATES DISTRICT COTJRT                          FILED
                             SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION                      4:36 pm, Nov 09, 2023
                                                                              U.S. DISTRICT COURT
                                                                           SOUTHERN DISTRICT OF INDIANA
UNITED STATES OF AMERICA.                         )                            Roger A.G. Sharpe, Clerk
                                                  )
                       Plaintiff-                 )
                                                  )
                                                           CAUSE NO.        1:23-cr-170-MPB-TAB
                                                  )
                                                  )
SEAN EBERHART.                                    )
                                                  )
                        Def'endant                )


                                        INFORMATION

       The United States Attomey charges that:

                                        COTINT I
                        Conspiracy to Commit Honest Services Fraud
                                         l8 u.s.c. s 371

       At times material to this Infbrmation

                                           Background

       1.      SEAN EBERIIART, defendant herein, was a resident ofShelby County, Indiana,

and was the elected representative of Indiana House District 57, which included Shelby County

and portions of Bartholomew and Hancock counties. As an elected representative, EBERHART

owed a fiduciary duty to his constituents. One of EBERHART's largest constituents was

Indiana Grand Casino and Racetrack. EBERHART was a member of the House Committee on

Public Policy, which had jurisdiction over matters conceming casinos and gaming in Indiana.

       2.      Centaur Holdings, LLC (hereinafter "Centaur") was a company which operated

casinos and off-track-betting (*OTB') facilities in lndian4 including the Indiana Grand Casino

and Racetrack in Shelbyville. Indiana. Centaur was the state license holder for the facilities.

Centaur was owned primarily by Individual A.
       3.      Caesars Entertainment Corporation ("Caesars") is a U.S.-based casino-

entertainment company. In July 201 8, Caesars acquired Centaur, and thus acquired lndiana

Grand Casino and Racetrack (and the accompanying state license) located in Indiana House

District 57, which EBERHART represented.

       4.      Spectacle Entertainment ("Spectacle") was a company created by Individual A

and others following the sale of Centaur to Caesars. Spectacle utilized the same office space

that was previously used by Centaur. Many of the executives ol Centaur continued in

substantially similar roles as executives of Spectacle.

       5.      In late 2018, Spectacle sought to purchase two casinos (and the accompanying

state licenses) located on Lake Michigan in Gary, Indiana. Spectacle intended to seek approval

to relocate the two casinos from the Lake Michigan waterfront to locations inland in downtown

Gary and in Vigo County, Indiana. Purchases or transfers of casino licenses, and relocating the

two casinos from the waterfront to inland locations, must be approved through the passage ola

bill by both houses ofthe Indiana legislature, and signed by the govemor.

       6.      In early 2019, the Indiana Gaming Commission gave final authorization for

Spectacle's acquisition of two state licenses fbr casinos then-located on Lake Michigan. The

Gaming Bill, once passed, would require Spectacle to pay a one-time "transfer fee" to the State

of Indiana should Spectacle decide to move the licenses to new locations. The transfer fee

associated with moving the licenses began at $ 100 million but was eventually reduced to $20

million and included additional tax incentives for Spectacle. In 2019, legislation was introduced

in the Indiana legislature regarding gambling (the "Gaming Bill"). The Gaming Bill authorized

the relocation ofthe two waterfront casino operations to inland locations in Gary, Indiana, and

Terre Hau1e, Indiana.
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                                   The ( onspiracr and Schcmc

          7.     From in or about Janu ary 2019, through and including May 9, 2019, in the

Southem District of Indiana and elsewhere, SEAN EBERHART, Individual A, and others

known and unknown to the United States Attomey, agreed and conspired to commit Honest

Services Fraud, in violation of Title l8 U.S.C. $$ 1343 and 1346, that is to devise and intend to

devise a scheme and artifice to defraud and deprive the citizens oflndiana House District 57 of

their right to the honest and faithful services of EBERHART through bribery and the

concealment of material information.

                             Purpose of the Colsniracv and Scheme

          8.     The purpose of the conspiracy and scheme was lbr EBERHART to secretly use

his official position to enrich himself by soliciting and accepting gifts. payments. and other

things ofvalue from Individual A and Spectacle in exchange lbr favorable official action,

namely future employment at and compensation tiom Spectacle, and for Individual A to enrich

himself by secretly obtaining favorable official action for himselland Spectacle through comrpt

means, namely EBERHART's advocacy and votes in favor of the Gaming Bill, and amendments

thereto, on terms favorable to Spectacle.

                       Manner and Means of the Conspiracv and Scheme

          The conspiracy and scheme were carried out in the following manner and means, among

others:

          9.     Individual A offered. and EBERHART accepted. the promise of luture

employment at Spectacle, which included annual compensation ofat least $350,000.
                                                 J
       10. In exchange, as Individual A and EBERIIART agreed, EBERIIART used his
position as a member ofthe Indiana House of Representatives to advocate and ultimately vote

for passage of the Gaming Bill on terms favorable to Spectacle, including but not limited to:

                a.    Authorizing the transfer ofthe licenses for the two casinos thenJocated on

       Lake Michigan;

                b.    Authorizing the relocation of the two Lake Michigan gaming licenses to

       inland locations in Gary, Indiana, and Vigo County. lndiana;

                c.    Reducing or eliminating the originally proposed $ 100 million transfer fee

       to be paid by Spectacle for acquisition ofthe licenses, which was ultimately reduced to

       $20 million; and

                d.    Authorizing tax incentives that would be benefit Spectacle.

                             rt Acts in Furtherance of the Cons lra

       In furtherance ofthe conspiracy and scheme. and to accomplish its unlawful purpose,

EBERHART, Individual A, and others known and unknown to the United States Attomey,

performed or caused to be performed, one or more ofthe following overt acts, among others not

described herein. in the Southem District of Indiana and elsewhere:

       I   l.   In or about January or February 2019, Individual A offered EBERHART an

employment position with Speclacle with a significant annual salary and an equity stake as

compensation.

       12. On or about March 2'1.2019, during a hearing of the Indiana House Public Policy
Committee, EBERHART advocated to remove a $100,000,000 transfer fee entirely from the

Gaming Bill.



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        13. On or about Aprit 18,2019, EBERHART communicated with a person known to
the Grand Jury regarding the status ofthe Gaming Bill and efforts to "make it right for

[Individual A]".

        14. On or about April24,2019, while the Gaming Bill was in the Conference
Committee process, EBERHART proposed removing one of the Conference Committee chairs

who was perceived as holding up passage of the Gaming bill.

        15. On or about April23,2019, during a hearing a session ofthe Indiana House of
Representatives, EBERIIART advocated to in favor ofa 20Vo tax rate that would save Spectacle

tens of millions oldollars.

        16. On or about April 24. 2019, EBERHART voted in favor of the Gaming Bill and
the associated tax provisions which would save Spectacle tens of millions ofdollars.

       Interstatc Wire Communication in Furtherance of the Conspiracy and Scheme

        17.    In furtherance ofthe above conspiracy. the lbllowing interstale uire

communications were made:

        18.    A text exchange senl on or about April 18. 2019. tiom EBERHART to a person

known to the Grand Jury:

               EBERIIART: A little clean up to make it right for flndividual A]. I think we
               have a 95o/o chance now.

               Person 1 : Table games 1/ I /20?

               EBERHART: Yep. I worked my ass o1f lor that

               Person 1: You don't have to go into a lot ofdetails but what gets changed to
               benefit Individual A so much?

               EBERHART: '['ake a call.)

        19.    On or about April24,2019, when the Gaming Bill was in jeopardy, the following
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text exchange between EBERHART and a person known to the Grand Jury occurred:

      Person I   : flndividual A] is losing his mind.
      EBERHART: Tell him stay calm. We are going to let the bull simmer tonight.

      EBERHART: Bill

      Person I : What is her issue though? Where did this come from?

      EBERHART: No idea. I talked to her 3 different times. Told her I couldn't
      believe she would let the bitl die because ofhold harmless language.

      EBERHART: Just told [Individual Aj to hold tight.




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20. On or about April 25, 2019, after the Gaming Bill passed, the following
text exchange between EBERHART and a person known to the Grand Jury occurred:

       EBERIIART: You ok?

       Person   l: Yep, just hungover.
       EBERHART: No doubt. We got work to do and 2 casinos to open.

       EBERHART: Meeting with flndividual A] later this week.

All of which is in violation of Title 18. United States Code. Section 371.




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                                               LINITED STATES ATTORNEY


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                                               Senior Litigation Counsel



                                      By:
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                                               Criminal Chief




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